                      Case 1:22-mj-00051-ZMF Document 1 Filed 03/07/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                     United States of America v.                     )
                                                                     )
            Jared Paul Cantrell DOB: XXXXXX
                                                                     )      Case No.
            Quentin G. Cantrell DOB: XXXXXX                          )
           Eric Andrew Cantrell DOB: XXXXXX                          )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                               in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds
        18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds
        40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building
        40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                         Gary A. Warfield, Officer
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                                               Zia M. Faruqui
                                                                                                            2022.03.08 14:33:33
Date:             03/08/2022                                                                                -05'00'
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ'&                      Zia M. Faruqui, U.S. Magistrate Judge
                                                                                               Printed name and title
